Case 3:16-md-02738-MAS-RLS   Document 28977   Filed 02/02/24   Page 1 of 15 PageID:
                                   172615




                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY




   IN RE: JOHNSON & JOHNSON TALCUM                MDL No. 16–2738 (MAS) (RLS)
   POWER PRODUCTS MARKETING, SALES
   PRACTICES, AND PRODUCTS LIABILITY
   LITIGATION                                     Oral Argument
                                                  Requested




   DEFENDANT JOHNSON & JOHNSON’S SUR-REPLY IN OPPOSITION
       TO PLAINTIFFS’ STEERING COMMITTEE’S MOTION FOR
     PROTECTIVE ORDER REGARDING SUBPOENA DIRECTED AT
                   NORTHWELL HEALTH, INC.

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Case 3:16-md-02738-MAS-RLS                  Document 28977              Filed 02/02/24         Page 2 of 15 PageID:
                                                  172616



                                         TABLE OF CONTENTS
  TABLE OF AUTHORITIES ................................................................................. ii
  INTRODUCTION ..................................................................................................1
  ARGUMENT..........................................................................................................3
          I.       The PSC’s Motion Fails Because Its Own Interests Are Not
                   Jeopardized. ........................................................................................3
          II.      The Information Sought Is Relevant. ..................................................6
          III.     No Privacy Interest Is At Stake. ..........................................................7
          IV.      The Subpoena Is Not Unduly Burdensome. ......................................11
  CONCLUSION ....................................................................................................11




                                                            i
Case 3:16-md-02738-MAS-RLS                   Document 28977              Filed 02/02/24         Page 3 of 15 PageID:
                                                   172617



                                       TABLE OF AUTHORITIES

  Case(s)                                                                                                     Page(s)
  Aetrex Worldwide, Inc. v. Burten Distribution, Inc.,
     2014 WL 7073466 (D.N.J. Dec. 15, 2014)......................................................... 5

  Arkliss v. Nissan Extended Servs. N. Am., Inc.,
     2018 WL 10502135 (D.N.J. Aug. 16, 2018) ...................................................... 4
  Braintree Lab’ys, Inc. v. Novel Lab'ys, Inc.,
     2013 WL 12170639 (D.N.J. Apr. 3, 2013) ....................................................... 10
  Contour Data Sols. LLC v. Gridforce Energy Mgmt., LLC,
    2022 WL 3907530 (E.D. Pa. July 25, 2022)....................................................... 5
  Doe v. Am. Red Cross Blood Servs., S.C. Region,
    125 F.R.D. 646 (D.S.C. 1989).......................................................................... 10
  Farnsworth v. Procter & Gamble Co.,
    758 F.2d 1545 (11th Cir. 1985) ........................................................................ 10
  Government Employees Insurance Co v. Koppel
    2023 WL 5526809, at *1 (D.N.J. Aug. 28, 2023)............................................... 4
  Lampshire v. Procter & Gamble Co.,
    94 F.R.D. 58 (N.D. Ga. 1982) .......................................................................... 10
  Lilac Development Group v. Hess Corporation
     2016 WL 3457012, at *3 (D.N.J. June 20, 2016) ........................................... 4, 5
  Rudelli v. Eli Lilly & Co.,
    2020 WL 13694732 (D.N.J. Nov. 13, 2020) ...................................................... 5

  Other Authorities

  45 C.F.R. § 164.512(e)(1)(i) ................................................................................... 9
  Fed. R. Evid. 401 .................................................................................................... 6




                                                            ii
Case 3:16-md-02738-MAS-RLS        Document 28977          Filed 02/02/24   Page 4 of 15 PageID:
                                        172618



        Without first seeking permission as required by Local Rule 37.1(b)(3), the

  Plaintiffs’ Steering Committee (“PSC”) filed a reply brief that raised a number of

  new issues for the first time, necessitating a response. Defendant Johnson & Johnson

  (“J&J”) therefore submits this sur-reply in opposition to the PSC’s Motion For

  Protective Order Regarding Subpoena Directed At Northwell Health, Inc.

  (“Northwell”).

                                    INTRODUCTION
        In its Reply, the PSC mocks J&J for “excruciatingly” describing the

  underpinnings of Dr. Moline’s Articles and for attaching “more than 1,000 pages of

  exhibits” to its Opposition brief. Reply 1. The PSC must resort to criticizing the

  volume of the evidence because it cannot and does not dispute what the evidence

  shows: that J&J has very good reason to believe that the Articles are based on a false

  premise. Similarly, nowhere in its blustering Reply does the PSC invoke the usual

  arguments that J&J’s views about the Articles’ falsity are “speculation” or that J&J

  is simply on a “fishing expedition.” Perhaps that is because it can’t. The Articles are

  not legitimate science; they are a litigation tactic.

        In reality, the PSC wants to be able to exploit this same litigation tactic for

  itself. Not surprisingly, the PSC steadfastly has refused to commit that it will not use

  the Articles during trial. Instead, it provides self-serving assurances that it is

  “unlikely” that the Articles will come up during future trials. They don’t say that



                                              1
Case 3:16-md-02738-MAS-RLS       Document 28977      Filed 02/02/24   Page 5 of 15 PageID:
                                       172619



  they will not rely on any papers that review or touch on mesothelioma—because in

  fact their expert reliance lists are peppered with such papers. And, most importantly

  here, the PSC has put forth multiple experts who rely on the Moline Articles. On that

  basis alone J&J should be permitted to arm itself with the truth about the Articles so

  it can adequately cross examine these witnesses and allow a jury to understand the

  Articles—and any opinions premised on them—for what they really are. The need

  for discovery into the likely false underpinnings of the Articles is only exacerbated

  when the PSC continues to play coy about its intended use of the Articles.

        In order to distract from this obvious conclusion, the PSC focuses its Reply

  on the contention that “defendants in mesothelioma cases throughout the country

  have repeatedly attempted to obtain the same information and failed.” Reply 2. But

  it cites almost exclusively to rulings on the scope of permissible cross-examination,

  not discovery requests—and in cases where J&J was not even a party.

        As to the actual discovery order that the PSC focuses on (from the Gref case),

  the PSC notably does not describe what in fact occurred in the matter. It is simply

  not true that Northwell “already fought and won this same battle” in Gref. See Reply

  10. To the contrary, the plaintiff in Gref mooted the issue by committing not to rely

  on the Articles, something the PSC refuses to do here. That was the sole basis for

  the court’s ruling.




                                            2
Case 3:16-md-02738-MAS-RLS       Document 28977       Filed 02/02/24   Page 6 of 15 PageID:
                                       172620



        Similarly, while attempting to claim J&J’s own expert Dr. Diette supports the

  PSC’s position, the PSC ignores that Dr. Diette has expressly testified that he does

  not believe the identities of the individuals that form the basis of the Articles are

  confidential since they were already made public: “[M]y opinion as a researcher [is]

  that there is no longer any confidentiality to protect, at least for the topic of what’s

  in that paper.” Ex. 35, Diette Pichierri Dep. 63:12-70:5.

        Finally, no privacy interest or burden is at stake. The PSC never disputes that

  all the individuals in the Articles already made their mesothelioma diagnoses and

  related medical histories public. And in its Reply, the PSC does not even attempt to

  support its argument that producing two short documents would be burdensome.

        This Court should deny the PSC’s motion.

                                      ARGUMENT
  I.    The PSC’s Motion Fails Because Its Own Interests Are Not
        Jeopardized.
        The PSC does not contend that any of its own interests are implicated by the

  subpoena. Instead, it makes a purely legal argument that it can move for a protective

  order even if has absolutely no interest in the outcome.

        The PSC conflates two separate requirements. Just because a party has Rule

  26(c) standing (because Rule 26(c) expressly mentions a “party” filing a motion,

  unlike Rule 45), that does not relieve the party from the separate requirement that it

  must show that its own interests are jeopardized. The PSC responds to this legal


                                             3
Case 3:16-md-02738-MAS-RLS       Document 28977      Filed 02/02/24   Page 7 of 15 PageID:
                                       172621



  truism by citing to cases that stand for the simple proposition that a party has

  standing under Rule 26(c) to contest relevance. But, again, such cases say nothing

  about the separate requirement that the moving party’s own interests must also be

  jeopardized.

        J&J provided numerous examples of cases from across the country—in

  addition to Wright & Miller—stating that a party must, at minimum, show it has

  some interest that would be jeopardized by the disclosure of information at issue in

  order to move for a protective order. By contrast, the PSC cites to cases where the

  court never addressed the issue one way or another, and thus its cases have no

  bearing on the question. See Arkliss v. Nissan Extended Servs. N. Am., Inc., 2018

  WL 10502135, at *4 (D.N.J. Aug. 16, 2018) (stating cases are “not persuasive” that

  “did not address the argument” at issue). The PSC does not cite a single case granting

  a protective order and expressly holding that the party need not have shown that its

  own interest would be jeopardized in some way by the disclosure.

        Indeed, the issue of whose interests were at stake may never have arisen in

  those cases because the moving parties’ interests were at stake. For example, in

  Government Employees Insurance Co v. Koppel, the “Koppel Defendants” sought

  to block a subpoena for “all criminal and investigative records from the OIFP’s

  Medicaid Fraud Control Unit concerning the Koppel Defendants.” 2023 WL

  5526809, at *1 (D.N.J. Aug. 28, 2023) (emphasis added). In Lilac Development



                                            4
Case 3:16-md-02738-MAS-RLS      Document 28977      Filed 02/02/24   Page 8 of 15 PageID:
                                      172622



  Group v. Hess Corporation, the defendant Hess Corporation similarly “stress[ed]

  the sensitive nature of the information Hess was providing” to the third party that

  was sought by the third-party subpoena. 2016 WL 3457012, at *3 (D.N.J. June 20,

  2016) (emphasis added).

        In fact, the PSC largely relies on cases where a motion for a protective order

  was denied. See Koppel, 2023 WL 5526809, at *4 (“[T]he Koppel Defendants’

  alternative request for a protective order is DENIED.”); Lilac Dev. Grp., 2016 WL

  3457012, at *3 (“Defendant Hess Corporation and Speedway, LLC's motion for a

  protective order is DENIED.”); Aetrex Worldwide, Inc. v. Burten Distribution, Inc.,

  2014 WL 7073466, at *6 (D.N.J. Dec. 15, 2014) (“Defendant's motion for a

  protective order and to quash the subpoenas is hereby DENIED.”); Rudelli v. Eli

  Lilly & Co., 2020 WL 13694732, at *3 (D.N.J. Nov. 13, 2020) (“To the extent

  Defendant intended to move for a protective order, such request is denied.”);

  Contour Data Sols. LLC v. Gridforce Energy Mgmt., LLC, 2022 WL 3907530, at *3

  (E.D. Pa. July 25, 2022) (“Plaintiff’s Motion is DENIED.”).

        Finally, even if the PSC was correct that it may assert lack of relevance

  without its own interest being jeopardized, that does not give the PSC the ability to

  raise the burden or privacy interests of others—two issues that made up the bulk of

  the PSC’s initial motion. The PSC’s own case makes that clear. See Lilac Dev. Grp.,

  2016 WL 3457012, at *2 (“But Defendants do not have standing to move for a



                                           5
Case 3:16-md-02738-MAS-RLS        Document 28977     Filed 02/02/24   Page 9 of 15 PageID:
                                        172623



  protective order for a third-party based on the burden that subpoena will place on the

  third-party.”).

        This Court should deny the PSC’s motion for a protective order where it has

  not claimed that it has any interest in the outcome.

  II.   The Information Sought Is Relevant.
        While it attempts to shield itself from its lack of any interest by pointing to

  relevance, ironically, the PSC barely contends that the information at issue is not

  relevant. It does not dispute that the standard for relevance in the context of

  discovery is even more liberal than Rule 401 in the context of a trial. Nor does the

  PSC dispute that Dr. Moline’s Articles could be used to support its contention that

  J&J’s talc products were contaminated with asbestos.

        Lastly, the PSC has not committed that it will not use or refer to Dr. Moline’s

  Articles during trial. Rather, the PSC’s response on this question amounts to: Trust

  us, the Articles won’t come up. The PSC’s refusal to make a commitment to refrain

  from discussing the Articles demonstrates both the Articles’ relevance and should

  be dispositive. If the Articles may arise during trial, J&J has the right to the

  underlying information to be able to defend itself and demonstrate that those Articles

  are based on a false premise.




                                            6
Case 3:16-md-02738-MAS-RLS           Document 28977   Filed 02/02/24   Page 10 of 15
                                     PageID: 172624



III.   No Privacy Interest Is At Stake.
       The PSC similarly offers little-to-no support for the idea that any privacy

interests are in play. The PSC does not contend that any law prohibits disclosure of

the two documents at issue or the information contained therein. And critically, the

PSC does not respond at all to the point that the individuals in the Articles already

made public that they developed mesothelioma (and their related medical histories)

since they were all plaintiffs in litigation.

       Take for example the plaintiffs discussed in J&J’s opposition brief that appear

to match individuals in the Articles. Each filed a public complaint making their

mesothelioma diagnosis public:

       • Kohr Complaint
         “These exposures to asbestos proximately caused HELENE KOHR to
         develop mesothelioma.”

       • Lanzo Complaint
         “Plaintiff, Stephen Lanzo, III, contracted mesothelioma.”

       • Jackson Complaint
         “Plaintiff Doris Jackson was diagnosed with mesothelioma in November
         2014.”

       • Dalis Complaint
         “Plaintiff Valerie Jo Dalis contracted mesothelioma.”

       • Rimondi Complaint
         “RICARDO RIMONDI was diagnosed with malignant mesothelioma on
         or about 27 September 2016.”
Ex. 36, Kohr Compl. ¶ 5; Ex. 37, Lanzo Compl. ¶ 3. Ex. 38, Jackson Compl. ¶ 3;

Ex. 39, Dalis Compl. ¶ 2; Ex. 40, Rimondi Compl. ¶ 1.


                                            7
Case 3:16-md-02738-MAS-RLS          Document 28977      Filed 02/02/24    Page 11 of 15
                                    PageID: 172625



      Rather than taking the lack of privacy interests head on, the PSC cites a

number of irrelevant rulings and depositions.

      Gref. The PSC first points to the Gref case where J&J was not even a party.

But the PSC’s contention that “Northwell already fought and won this same battle”

in Gref is simply not true. See Reply 10.

      In that matter, the plaintiff withdrew all reliance on Dr. Moline’s Articles—

something the PSC has refused to do here. The Gref plaintiff wrote: “Plaintiff

withdraws his experts’ reliance on the Moline Article in this matter.” Ex. 41, Gref

Letter Brief (Gref ECF 337). The plaintiff further contended that “[s]ince Plaintiff is

withdrawing reliance on the article, there can be no argument that the identity of the

subjects of the Moline Article are relevant in Mr. Gref’s lawsuit.” Id.

      The Gref order the PSC attached gave no rationale but instead referred to the

reasoning given at a May 19, 2023 hearing, attaching no transcripts. See Reply at 10;

Reply Ex. C. The bench ruling at the hearing makes clear that the magistrate judge

relied exclusively on the fact that the plaintiff withdrew all reliance on the 2020

Article for reaching her conclusion: “I’m not going to give you a written decision

because it’s pretty clear, given [plaintiff’s counsel] Mr. Kramer’s statements on the

record, that they’re not at all using or relying on Dr. Moline’s 2020 article, that there

just isn’t a basis to conclude that the article is relevant.” Ex. 42, Gref May 19, 2023

Hr’g Tr. 12:14-24.



                                            8
Case 3:16-md-02738-MAS-RLS         Document 28977      Filed 02/02/24   Page 12 of 15
                                   PageID: 172626



      A case where the plaintiff has withdrawn all reliance on Dr. Moline’s Articles

says nothing about J&J’s arguments here, which continue to go unrebutted.1

      Lashley Trial Ruling. The PSC also provides lengthy quotations of a mid-

trial ruling in Lashley regarding the appropriate scope of cross examination of Dr.

Moline. Again, such a ruling has no bearing on J&J’s entitlement to discovery here.

That case did not even involve J&J and the PSC does not explain what arguments

were or were not presented to the judge. What’s more, and critically, that trial

occurred in 2020 shortly after the Dr. Moline’s original Article first became

available—well before the Bell ruling and other new information came to light

revealing that the premise of the 2020 Article likely is not true.

      Plaintiffs’ reference to other mid-trial rulings regarding the scope of cross

examination of Dr. Moline are similarly not relevant to the discovery question at

issue here. See Reply at 11. And even if these sorts of rulings were relevant, courts

have prohibited plaintiffs from relying on Dr. Moline’s Articles because defendants

“have been obstructed from meaningfully cross-examining Dr. Moline and obtaining


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  The PSC also quotes Northwell’s arguments regarding HIPAA from Gref, perhaps
in an attempt to avoid the fact it never actually addressed HIPAA in its motion and
also in order to raise the specter of HIPAA without developing any genuine argument
on the topic. Again, the individuals referred to in the Articles are not Dr. Moline or
Northwell’s patients, which is why the plaintiffs in Bell (where a highly redacted
version of one of the two documents sought was produced) conceded the information
was not HIPAA-protected. In any event, even material that is actually covered by
HIPAA may be disclosed “[i]n response to an order of a court.” 45 C.F.R.
§ 164.512(e)(1)(i).

                                           9
Case 3:16-md-02738-MAS-RLS        Document 28977      Filed 02/02/24   Page 13 of 15
                                  PageID: 172627



discovery that might challenging the finding and conclusions of the Article.” Ex. 43,

Smith Order. Another court adopting that same ruling stated that “there is a serious

question as to whether the studies are based upon reliable and rigorous scientific

methods.” Ex. 44, Thomas Order.

      New Case Law. In two perfunctory parentheticals, the PSC cites new case law

for the first time in its Reply. See Reply 9. These out-of-circuit cases from over 35

years ago have no bearing on the issue this Court confronts.

       In Farnsworth, the information sought was “of a highly personal nature”

including “sexual practices, contraceptive methods, pregnancy histories, menstrual

activity, tampon usage, and douching habits.” Farnsworth v. Procter & Gamble Co.,

758 F.2d 1545, 1546 (11th Cir. 1985). The study participants were not all plaintiffs

who already publicly revealed their medical condition—as with the Articles here.

And there was no evidence in that case that the underlying facts reported in the study

were simply false, which is precisely the situation here. Lampshire was an earlier

ruling involving the same study and suffers from the same flaws. Lampshire v.

Procter & Gamble Co., 94 F.R.D. 58, 60 (N.D. Ga. 1982). 2


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  The cases the PSC cites in a footnote are even less relevant. Reply 9 n.13. Doe did
not involve a study at all, but a request to identify “the HIV positive donor whose
blood was transfused into Jane Doe during an operation on January 9, 1985.” Doe v.
Am. Red Cross Blood Servs., S.C. Region, 125 F.R.D. 646, 647 (D.S.C. 1989). In
Braintree, the relevant documents were produced, and the only question is whether
information would be filed under seal—a completely different inquiry. Braintree
Lab’ys, Inc. v. Novel Lab'ys, Inc., 2013 WL 12170639, at *1 (D.N.J. Apr. 3, 2013).

                                         10
Case 3:16-md-02738-MAS-RLS          Document 28977       Filed 02/02/24    Page 14 of 15
                                    PageID: 172628



      Dr. Diette Testimony. Finally, the PSC misleadingly quotes an excerpt of a

deposition transcript of Dr. Diette without providing his full views on the topic. Dr.

Diette expressly testified that he does not believe the subjects of Dr. Moline’s article

have confidentiality: “[M]y opinion as a researcher [is] that there is no longer any

confidentiality to protect, at least for the topic of what’s in that paper.” Ex. 35, Diette

Pichierri Dep. 63:12-70:5.

IV.   The Subpoena Is Not Unduly Burdensome.
      While the PSC originally argued that the subpoena would represent an undue

burden on Northwell, it does not contest in its Reply that seeking production of only

two documents is a burden at all. For this reason as well, which the PSC now appears

to concede, its motion should be denied.

                                    CONCLUSION
      The information sought by the subpoena is unquestionably relevant. No

privacy interests are implicated. All the plaintiffs in the Articles voluntarily made

their mesotheliomas public. And producing two documents is no burden at all. A

protective order is therefore not warranted.

      The real issue on this motion is that disclosure of the two documents threatens

to expose the falsity of the Articles relied upon by the PSC’s experts, and the sort of

litigation tactics at play across these cases. That is why the PSC is fighting a battle

to block this basic discovery.



                                            11
Case 3:16-md-02738-MAS-RLS       Document 28977     Filed 02/02/24   Page 15 of 15
                                 PageID: 172629



      This Court should deny Plaintiffs’ Motion for a Protective Order.



Dated: January 31, 2024                           Respectfully submitted,



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                                       12
